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                              UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEW HAMPSHIRE


                                            )
In re:                                      )                Chapter 11
                                            )
The Prospect-Woodward Home,                 )                Case No. 21-10523-BAH
                                            )
                 Debtor.                    )
                                            )

              OMNIBUS LIMITED OBJECTION/RESERVATION OF RIGHTS TO
                       DOC. NOS. 46, 47, 48, 49, 50, 51, 62 AND 711

         The secured creditor, Savings Bank of Walpole (the “Bank”), files this Omnibus Limited

Objection (the “Objection”) to Doc. Nos. 46, 47, 48, 49, 50, 51, 62, and 711 and states as follows:

Preliminary Statement:

         1.      This matter comes before the Court via a Chapter 11 petition filed on August 30,

2021 by The Prospect-Woodward Home (the “Debtor”).

         2.      The Bank is a secured creditor of the Debtor pursuant to certain loan documents

including, inter alia: (A) an Intercreditor Agreement dated April 22, 2019; (B) a Security

Agreement dated April 22, 2019; (C) a Promissory Note dated April 22, 2019; and (D) a

Construction Loan Agreement dated April 22, 2019 by and between The Prospect-Woodward Home

1 Ex Parte Application of Debtor for Entry of an Order Authorizing the Retention and Appointment of Donlin, Recano
& Company, Inc. as Administrative Agent for the Debtor [Doc. 46], Ex Parte Application of the Debtor for Entry of an
Order Authorizing the Retention and Employment of Grandbridge Real Estate Capital LLC as the Debtor’s Broker
Nunc Pro Tunc to the Petition Date [Doc. 47], Ex Parte Application of the Debtor for Entry of an Order (I) Authorizing
the Retention and Employment of OnePoint Partners, LLC to Provide a Chief Restructuring Officer and Additional
Staff and (II) Designating Toby Shea as Chief Restructuring Officer Nunc Pro Tunc to the Petition Date [Doc. 48], Ex
Parte Application of the Debtor for Entry of Order Authorizing the Retention and Employment of Polsinelli PC as
Counsel to the Debtor Nunc Pro Tunc to the Petition Date [Doc. 49], Ex Parte Application of the Debtor for Entry of an
Order Authorizing the Retention and Employment of Silverbloom Consulting, LLC to Provide Consulting Services
Nunc Pro Tunc to the Petition Date [Doc. 50], Motion of Debtor for Order Establishing Procedures for Interim Monthly
Compensation and Reimbursement of Expenses of Professionals [Doc. 51], Motion of Debtor for Entry of an Order
authorizing Retention and Payment of Professionals Utilized in the Ordinary Course of Business [Doc. 62], and Ex
Parte Application of the Debtor for Entry of an Order Authorizing the Retention and Employment of Hinckley, Allen &
Snyder LLP as Local and Special Counsel to the Debtor Nunc Pro Tunc to the Petition Date [Doc. 71].
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and Savings Bank of Walpole in the amount of $3,000,000. The Bank’s claim is in excess of $1.8

million.

Discussion:

       3.      On September 1, 2021, the Debtor filed applications to retain Donlin, Recano &

Company, Inc.(“Donlin”) [Doc. No. 46 (the “Donlin Motion”)]; Grandbridge Real Estate Capital,

LLC (“Grandbridge”) [Doc. No. 47 (the “Grandbridge Motion”)]; OnePoint Partners, LLC [Doc.

No. 48 (the “OnePoint Motion”)]; Polsinelli PC [Doc. No. 49 (the “Posinelli Motion”)]; and

SilverBloom Consulting, LLC (“SilverBloom”) [Doc. No. 50 (the “SilverBloom Motion”)]. See

infra, Footnote 1. That same day, the Debtor also filed its Motion for Order Establishing

Procedures for Interim Monthly Compensation and Reimbursement of Expenses of Professionals

[Doc. No. 51 (the “Compensation Motion”)].

       4.      On September 2, 2021, the Debtor then filed an application to retain professionals

utilized in the ordinary course of business [Doc. No. 61 (the “Ordinary Course Professionals

Motion”)] and another application to retain Hinckley, Allen & Snyder LLP [Doc. No. 71 (the

“Hinckley Motion”)].

       5.      All of the foregoing filings are now set for hearing on September 17, 2021 at 1:30

p.m.

       6.      As the Bank asserts similar objections as to all such filings and the Bank believes

that its issues have been resolved by agreement with the Debtor, it files this Omnibus Limited

Objection as a reservation of rights in the interest of judicial economy.




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Certain Observations on Particular Filings:

         Polsinelli Motion/Hinckley Motion/Donlin Motion2

         7.       In the Polsinelli Motion (¶17), the Hinckley Motion (¶24) and the Donlin Motion

(¶17) the applicable professionals indicate that they will file fee applications with the Court in

accordance with customary practice as required by applicable law and rule.

         Grandbridge Motion

         8.       The Grandbridge Motion requests a waiver of reporting requirements of

LBR 2016-1, but will require a final fee application at the conclusion of its work (¶¶24-25).

         OnePoint Motion

         9.       The OnePoint Motion and proposed order require an activities and expense report

filed with the Court and served upon counsel to the Bond Trustee, the United States Trustee and the

Creditors Committee counsel (the “Notice Parties” named in that motion) and reports of

compensation earned and expenses incurred on a monthly basis also filed with the Court and served

upon the named Notice Parties. See Proposed Order (contained in Doc. No. 48,), ¶¶2(c) and (e).

The Bank is excluded as one of the Notice Parties as defined therein. Id., ¶2(c).

         SilverBloom Motion

         10.      The SilverBloom Motion requests retention pursuant to 11 U.S.C. 363. It requires an

activities and expense report to be filed with the Court and provided to the Notice Parties named in

that motion (again, counsel to the Bond Trustee, the United States Trustee and the Creditors

Committee counsel). SilverBloom Motion, ¶18. The Bank is not included as a Notice Party. Id.



2 The proposed order for the retention of Donlin [Doc. No. 95] purports to allow statements as to fees and expenses
served upon the Debtor and the Debtor’s counsel, the United States Trustee, and counsel for the Creditors Committee
and any party in interest who specifically requests such service. This filing should be deemed to be a specific request
by the Bank for inclusion in that service.
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       Compensation Motion

       11.     The Compensation Motion provides for service (but not filing with the Court) of

monthly fee statements for all professionals upon the named Notice Parties including counsel to the

Debtor, the Bond Trustee, the Creditors Committee counsel and the United States Trustee.

Compensation Motion, ¶9. It does not include the Bank as a Notice Party. Id. The Compensation

Motion does however require interim applications to be filed with the Court pursuant to 11 U.S.C.

331. Id., ¶9(g).

       Ordinary Course Professionals Motion

       12.     The Ordinary Course Professionals Motion addresses employment of

ACcommunication, BCM Environmental & Land Law, PLC and Wipfli and proposes 100%

disbursements upon submission of invoices unless the amount due any such professional equals

$30,000 in any one month, or $100,000 for the entire Chapter 11 case, in which event such invoices

shall be provided to the Notice Parties as named in paragraph 19 of the said motion. Ordinary

Course Professionals Motion, ¶19. The Bank is not included as a Notice Party and it appears that

only the Notice Parties will have the opportunity to object. Id., ¶19-20. Notwithstanding those

limitations with regard to notice and opportunity to object to the ongoing invoices, the Ordinary

Course Professionals Motion then references the “Debtor’s prepetition lender (presumptively the

Bank) in paragraphs 23 and 25 and further purports to give the said prepetition lender the option to

object to the retention of “additional” ordinary course professionals as this case proceeds.

       13.     Certain other general observations about the various motions are further addressed

below in paragraph 15 hereof.




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Discussion:

       14.     First, the Bank submits that as a major secured lender it should at all times have

notice of and the opportunity to review and be heard as to any requests for fees and reimbursement,

whether made in the form of an application to the Court or by such other means as the relevant

agreements or filings would purport to allow and this Court would approve. The Bank should also

have notice and opportunity to be heard as to the engagement of any other professionals going

forward as the Ordinary Course Professionals Motion seems to suggest but does not clearly state.

The notice and other provisions of the filings either do not make it clear that the Bank will have that

notice and opportunity or actually demonstrate that the Bank will not have notice. Of course, to the

extent that such applications or other request for fees and reimbursement are being filed with the

Court contemporaneously with any notice to the named Notice Parties -- and the Bank’s opportunity

to be heard thereon is preserved in all respects – then this portion of the objection is addressed.

       15.     Second, the proposed orders relative to Donlin [Doc. No. 46], Grandbridge [Doc.

No. 47], SilverBloom [Doc. No. 50], the Compensation Motion [Doc. No. 51], and the Ordinary

Course Professionals Motion [Doc. No. 62], uniformly state that “[a]ll payments made pursuant to

this Order shall be subject to any interim or final order entered by the Court governing the Debtor’s

right to the (sic) use the Bond Trustee’s cash collateral, including the budget attached hereto.”

Although all expenditures of cash collateral are governed by the Court’s interim and final orders

with regard thereto irrespective of this somewhat unclear clause, for clarity, all of the proposed

orders relative to the filings addressed in this Limited Objection should be revised to broadly

provide that “[a]ll payments made pursuant to this Order shall be subject to any interim or final

order entered by the Court governing the Debtor’s use of cash collateral.” Finally, the Debtor’s


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reference to the “budget attached hereto” in the referenced clause which is, upon information and

belief, a drafting error, further leads to confusion and should be deleted unless there is some

countervailing reason that it must be left in that is not apparent on its face.

       16.     These measures requested by the Bank are reasonable and necessary to ensure (i)

clarity in the orders entered by the Court; (ii) adequate protection of the Bank’s interests; and (iii)

the fair and equitable treatment of the Bank vis-à-vis other similarly situated creditors. 11 U.S.C

330(a)(1)(requiring notice and hearing for compensation and expenses of professionals); In re

O’Connor, 808 F.2d 1393, 1396 (10th Cir. 1987) (“In recognition of the powers created in

bankruptcy law to adjust debts and creditors’ interest, Congress realized the need to protect

creditors from unfair treatment. Hence, it codified the concept of adequate protection into the

several aggressive remedies available to debtors and bankruptcy trustees.”); In re Dynaco Corp.,

162 B.R. 389, 394 (D.N.H. 1993) (“Adequate protection will take many forms . . . and must be

determined based upon equitable considerations arising from the particular facts of each

proceeding.”). Otherwise, the Bank will be deprived of the benefit of its bargain to a greater extent

than such other creditors, a result that undermines the purpose of the adequate protection provision

in 11 U.S.C. § 363(e). In re WorldCom, Inc., 304 B.R. 611, 620-621 (S.D.N.Y. Bankr. 2004)

(“[A]dequate protection under section 363 is designed to protect the ‘benefit of the bargain.’”). The

Bank therefore seeks the relief as requested herein.

       17.     The undersigned has reached out to the Debtor and understands that these objections

will be addressed and remedial language included in a revised/redline order to be filed with the

Court prior to the hearing hereon. The undersigned counsel will seek confirmation of the foregoing

prior to the hearing date.


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          18.   The Bank requests that the Court waive any requirement under LBR 7102(b)(2) that

would otherwise require the filing of a memorandum of law herewith in that legal authority is cited

herein.

          WHEREFORE, the Creditor respectfully requests that this Honorable Court:

          A.    Enter an order consistent with the foregoing; and

          B.    Grant Savings Bank of Walpole such further relief as may be just and proper.

                                              Respectfully submitted,

                                              SAVINGS BANK OF WALPOLE

                                              By its attorneys,

                                              DEVINE, MILLIMET & BRANCH
                                              PROFESSIONAL ASSOCIATION

Dated: September 14, 2021               By: /s/ Charles R. Powell
                                            Charles R. Powell, Esquire, #05507
                                            Devine, Millimet & Branch, P.A.
                                            111 Amherst Street
                                            Manchester, NH 03101
                                            603-669-1000
                                            cpowell@devinemillimet.com




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                                  CERTIFICATE OF SERVICE

        I, Charles R. Powell III, Esq., do hereby certify that on the date referenced below, I served a
copy of the foregoing and accompanying Certificate of Service via CM/ECF to all attorneys of
record.

Dated: September 14, 2021                By: /s/ Charles R. Powell______________
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